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Attorneys for Defendant Ryan Bendawald

                        IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF IDAHO

   UNITED STATES OF AMERICA,          )
                                      )                   CASE NO. 1:23-CR-281-DCN
              Plaintiff,              )
                                      )
   vs.                                )                   DEFENDANT’S UNOPPOSED
                                      )                   MOTION TO MODIFY CONDITIONS
   RYAN A. BENDAWALD,                 )                   OF RELEASE
                                      )
              Defendant.              )
   __________________________________ )

       Defendant Ryan Bendawald, through his attorneys of record, moves the Court for an order

modifying the conditions of his release to change the hours of Mr. Bendawald’s curfew to allow

him to arrive at work at the time set by his new employer. This Court set Mr. Bendawald’s

conditions of release at his Arraignment on November 2, 2023. Dkt. 17. To date, no other requests

for modification have been made.

       This motion is brought based on Mr. Bendawald’s new employment hours.                 Mr.

Bendawald’s new employment hours require he begin work at 5:30 a.m. These hours are set to

begin on April 16, 2024. However, Mr. Bendawald’s presently set curfew requires him to be at

his residence every day from 10:00 p.m. until 6:00 a.m. Dkt. 17 ¶ 13(a). Based on the foregoing,




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it is respectfully requested the Court modify the curfew hours to 10:00 p.m. to 5:00 a.m. to allow

him to arrive at work by 5:30 a.m.

       Undersigned counsel has conferred with counsel for the government and there is no

objection to the modification. Counsel has further been advised that Mr. Bendawald’s Probation

Officer supports the modification.

       DATED this 12th day of April, 2024.

                                     NEVIN, BENJAMIN & McKAY LLP


                                     /s/ Debra Groberg
                                     Debra Groberg




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 12th day of April 2024, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF system, which caused the following parties or
counsel to be served by electronic means, as more fully reflected on the Notice of Electronic
Filing:

       Katherine L. Horwitz
       United States Attorney’s Office
       khorwitz@usdoj.gov


                                       /s/ Debra Groberg
                                       Debra Groberg




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